Case 1:20-cv-00484-RDA-TCB Document 1003 Filed 09/12/22 Page 1 of 1 PageID# 24765




                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

                                         )
  AMAZON.COM, INC. and AMAZON DATA )
  SERVICES,                              )
                                         )
              Plaintiffs,                )
                                         )
                      v.                 )             Civil Action No. 1:20-cv-484 (RDA/TCB)
                                         )
  WDC HOLDINGS, LLC, d/b/a NORTHSTAR )
  COMMERCIAL PARTNERS, et al.,           )
                                         )
              Defendants.                )
  ______________________________________ )

                                               ORDER

            FOR REASONS stated from the bench, and in accord with specific rulings and instructions

  thereto, it is hereby

            ORDERED that Plaintiffs’ Motion for a Protective Order (Dkt. 953) is GRANTED. It is

  further

            ORDERED that Defendant’s Motion to Strike Portions of Amazon’s Motion for

  Protective Order and Supporting Memorandum (Dkt. 953,954) is DENIED.

            ENTERED this 12th day of September, 2022.




                                                               /s/
                                                THERESA CARROLL BUCHANAN
                                                UNITED STATES MAGISTRATE JUDGE

  Alexandria, Virginia
